         Case 16-41005-elm13 Doc Filed 04/14/20                               Entered 04/14/20 17:14:13              Page 1 of 5
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              James Lee Bradberry
                       __________________________________________________________________

 Debtor 2               Tiffany Hare Bradberry
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                             (State)
 Case number            16-41005-elm13
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   Chalet Properties III, LLC
 Name of creditor: _______________________________________                                                             21
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to
                                                            0 ____
                                                          ____  2 ____
                                                                   3 ____
                                                                       8
 identify the debtor’s account:

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 q      No
 q      Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       _________________________________            (3)   $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           County Taxes 12-10-2019
                                                                         _________________________________            (8)     4,535.32
                                                                                                                            $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
          Case 16-41005-elm13 Doc Filed 04/14/20                                   Entered 04/14/20 17:14:13                 Page 2 of 5


Debtor 1     James Lee Bradberry
             _______________________________________________________                                              16-41005-elm13
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  q   I am the creditor.
  q   I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             û__________________________________________________
              /s/ Angie M Marth
                 Signature
                                                                                           Date    4 14 2020
                                                                                                   ____/_____/________




 Print:          Angie M Marth
                 _________________________________________________________                 Title   Authorized Agent for Secured
                                                                                                   ___________________________     Creditor
                 First Name                      Middle Name        Last Name



 Company         Ghidotti Berger, LLP
                 _________________________________________________________



 Address         600 E. John Carpenter Fwy., Suite 175
                 _________________________________________________________
                 Number                 Street
                 Irving, TX 75062
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone    972 _____–
                 (______)     3096
                          893 _________                                                    Email bknotifications@ghidottiberger.com
                                                                                                 ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
Case 16-41005-elm13 Doc Filed 04/14/20                                                                       Entered 04/14/20 17:14:13
                                                                                                                                 Mortgage Page  3 of 5
                                                                                                                                          Statement
                                                                                                                                       STATEMENT DATE          12/19/19
                                                                                                     Property Address: 6408 MARLETTE CT, NORTH RICHLAND HILLS TX 76182
 314 S Franklin St. / Second Floor
 PO Box 517                                                                                                        Account Number:
 Titusville, PA 16354                                                                                              Post-Petition Payment Date:                                               04/01/19
 Customer Care: 800-327-7861                                                                                       Post-Petition Payment Amount:                                             $1,127.87
 https://myloanweb.com/BSI                                                                                         This amount includes only your regular post-petition payment. It does not
                                                                                                                   include any past unpaid amounts or Pre-Petition Arrearage, or any fees and
                                                                                                                   charges.


                                                                                                                   Explanation of Payment Amount (Post-Petition Payment)
         CHRISTOPHER MARVIN LEE                                                                                    Principal:                                                                   $408.16
         RE: JAMES L BRADBERRY                                                                                     Interest:                                                                     $93.65
         8701 BEDFORD EULESS ROAD                                                                                  Escrow (Taxes and/or Insurance):                                             $727.44
         SUITE 510                                                                                                     Regular Monthly Payment:                                               $1,127.87
         HURST TX 76053                                                                                            Total Fees and Other Charges:                                                  $0.00
                                                                                                                   Past Unpaid Post-Petition Amounts                                          $9,885.52
                                                                                                                       Total Amount Owed Post-Petition                                       $11,013.39


    Account Information
    * Outstanding Principal:                                                             $33,586.21
    Interest Rate (Until Maturity):                                                       3.75000%             Prepayment Penalty:                                                                      NO
    Escrow Balance:                                                                      $-5,349.57
    * The outstanding principal balance does not represent the payoff of your loan. Please see reverse for more information.


    Transaction Activity (11/18/19 to 12/19/19)
    *Fees and costs are being included in your transaction history and Total Amount Owed Post-Petition due to the fact that they have been incurred post-petition, however they are not due and owing until
    BSI files a Post-Petition Fee Notice, so you may withhold payment of these fees until such time as you receive a Post-Petition Fee Notice for these items.
    Date          Description                                  Transaction                  Principal                Interest                  Escrow           Late Charges                 Unapplied
                                                                   Amount                                                                                             & Fees                   Amount
    11/25/19      Payment                                         $1,127.87                     $394.38              $107.43                  $626.06                  $0.00                      $0.00
    11/25/19      Payment                                          $117.63                        $0.00                $0.00                    $0.00                  $0.00                    $117.63
    11/25/19      Reversal                                       $-1,245.50                       $0.00                $0.00                    $0.00                  $0.00                 $-1,245.50
    12/02/19      Payment                                         $1,127.87                     $395.62              $106.19                  $626.06                  $0.00                      $0.00
    12/02/19      Payment                                          $117.43                        $0.00                $0.00                    $0.00                  $0.00                    $117.43
    12/10/19      Tax Disbursement                               $-4,535.32                       $0.00                $0.00               $-4,535.32                  $0.00                      $0.00




    Past Payments Breakdown                                                                         Pre-Petition Arrearage Payments
                                                                 Paid        Paid                   Received from Trustee              Total Received During                 Current Balance of
                                                          Last Month Year to Date                        Last Month                         Bankruptcy                      Pre-Petition Arrearage
   Principal                                                  $790.00   $5,047.97                           $0.00                              $0.00                                $25.09
   Interest                                                   $213.62   $1,475.56
   Escrow (Taxes and/or Insurance)                          $1,252.12   $8,123.25                     This box shows amounts that were past due when you filed for bankruptcy. It may
   Late Charges                                                 $0.00       $0.00                     also include other allowed amounts on your mortgage loan. The Trustee is sending
   Fees                                                         $0.00     $215.83                     us the payments shown here. These are separate from your regular monthly
   Partial Payments (Unapplied)*                           $-1,010.44     $137.61                     mortgage payment. These payments are reflected in your transaction activity.
   Total                                                    $1,245.30 $15,000.22**                 *Please note that we have not received all of the payments that have become due since your
   * Partial Payments: Any partial payments that you make may not be applied to your               bankruptcy filing.
   mortgage, but are held in a separate suspense account. If you pay the balance of a partial
   payment, the funds will then be applied to your mortgage.
   ** These amounts may not reflect payments made to a prior servicer if your loan servicing
   was transferred this year.




                                                                                          Bankruptcy Message
 Our records show that either you are a debtor in bankruptcy or you discharged personal liability for your mortgage loan in bankruptcy. This statement is being sent to you for informational and
 compliance purposes only. By law, we must send it to you. You can choose to stop receiving statements by writing to us at our address below. If your bankruptcy plan requires you to send your
 mortgage payments to the Trustee, you should pay the Trustee directly. If you are making post-petition payments directly to the Trustee, this statement may not accurately reflect the amount to
 be paid to the Trustee, and the transaction history only reflects payments received from the Trustee. Please contact the Trustee or your attorney if you have questions.

                                                                                        Important Messages




                                                       Keep upper portion for your records. See reverse for important information.
                                                                     Please return this portion with your payment

                                                           If your bankruptcy plan requires you                                                 Payment Amount
                                                           to send your regular monthly
  314 S Franklin St. / Second Floor                        mortgage payments to the Trustee,                        Post-Petition Payment Date:                                                04/01/19
  PO Box 517                                               do not send your payment to us.                          Post-Petition Payment Amount:                                             $1,127.87
  Titusville, PA 16354                                     Instead, you should send your
  Customer Care: 800-327-7861                              payment to the Trustee.                                  *All amounts due must be paid in full before additional principal reduction can be made.
  https://myloanweb.com/BSI                                                                                         Additional Principal:                   $____________________
                                                                                                                    Additional Escrow:                      $____________________
  Account Number:
  Property Address: 6408 MARLETTE CT, NORTH RICHLAND HILLS TX 76182
                                                                                                                    Total Amount Enclosed                                $_____________
  CHRISTOPHER MARVIN LEE
  RE: JAMES L BRADBERRY
  8701 BEDFORD EULESS ROAD
  SUITE 510
  HURST TX 76053                                                                                                         BSI Financial Services
                                                                                                                         PO BOX 679002
  Please write your loan number on your check and make payable to:
                                                                                                                         Dallas TX 75267-9002
  BSI FINANCIAL SERVICES
Case 16-41005-elm13 Doc Filed 04/14/20                                                               Entered 04/14/20 17:14:13                                        Page 4 of 5
 Payment Options
 BSI Financial Services provides you the following options for making your mortgage loan payments:

          Mail: BSI Financial Services, P.O. Box 679002, Dallas, TX 75267-9002

          Online: https://myloanweb.com/BSI

          Pay-by-Phone: 800-327-7861. A fee may apply for this service.

          Monthly, Bi-Weekly and Weekly ACH: Please call 800-327-7861 for instructions on how to enroll in the ACH program.

          Western Union: Visit the Western Union office nearest you. To make the payment, you will need your loan number, the CODE CITY ("BSI") and the STATE ("PA"). To locate
          the Western Union office nearest you, call 800.325.6000.

          Overnight Address: BSI Financial Services, Lockbox Number 679002, 1200 E Campbell Rd Ste. 108, Richardson, TX 75081

 Important Notice: BSI Financial Services does not accept cash payments or postdated checks. All payments will be applied upon receipt.

 Payment Information

      l       How Payments are Applied: Payments we receive will be applied in accordance with the terms of your mortgage note. This generally means that funds will first be applied
              to any payments past due. Once your loan is current, any additional available funds will be applied to outstanding fees, costs and advances prior to being applied to reduce
              your principal balance. Our servicing system allows for one advance payment. If you send in enough money to satisfy more than one additional monthly payment, any
              remaining funds will then be applied to fees, costs and your principal balance. Should you have any questions regarding a specific payment, please call our Customer Care
              Department at 800-327-7861.
      l       Additional Amounts: This is known as a curtailment or partial prepayment. If your loan is current and has the standard payment application requirements (check your
              Note, Mortgage and any applicable Riders for details), an amount in excess of the regular payment amount will be applied first to any outstanding charges (such as late fees
              or interest) and then to principal. Also, if your Note has a prepayment penalty, the extra amount you send could trigger that penalty. Please check your Note and
              understand what it means.
      l       Partial Payments: If you make a partial payment, which is less than an amount sufficient to cover your principal, interest and escrow (if applicable) for a given billing cycle,
              we may credit the partial payment to your account, return the partial payment to you, or hold the payment in an unapplied funds account. If your statement activity reflects a
              partial payment was placed in an unapplied funds account, your payment will be held in the unapplied funds account until we receive sufficient funds to cover a full monthly
              payment. To have your funds applied, you must remit an additional amount sufficient to complete the monthly payment.
      l       Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent of such a servicemember, may be entitled to certain protections
              under the Servicemembers Civil Relief Act ( SCRA ) regarding the servicemember s interest rate and risk of foreclosure. If you are currently in the military service, or have
              been within the last 12 months, and joined after signing the Note and Security Instrument now in default, please notify us immediately.



 Loan Reinstatement and Payoff Information
 The outstanding balance and amount due on your statement is as of the date of the statement and is not the amount needed to bring your loan current or to pay off your loan in full.
 Because of interest, late charges and other charges that may vary from day to day, the outstanding amounts due on your loan will increase. If your loan is in default, foreclosure activity
 and costs associated therewith will continue to accrue until the loan is fully reinstated or paid in full. If you would like to bring your loan current, please contact our Customer Care
 Department or your Loss Mitigation Specialist to request a Reinstatement Quote within 48 hours of when you intend to reinstate. If you are planning on paying off your loan, you must
 request a payoff quote a minimum of 5 business days before your anticipated payoff date and you will be provided a written Payoff Statement. Our agents are unable to give you a
 verbal payoff quote.

 Mortgage Counseling and Assistance
 If you are experiencing financial difficulty and would like counseling or assistance, you can find a list of homeownership counselors in your area on the U.S. Department of Housing and
 Urban Development's website at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or call their toll-free number at 1-800-569-4287.

 Qualified Written Requests
 Under the Real Estate Settlement Procedures Act, a qualified written request is written correspondence (other than notice on your payment coupon or other payment medium supplied
 by us) regarding the servicing of your loan that identifies your name, account number and the specific reasons for the request (such as an error on your loan account or a request for
 information). Any qualified written request you wish to submit must be sent to:BSI Financial Services, Attention: Qualified Written Requests,314 S Franklin St. / Second Floor
 PO Box 517 Titusville, PA 16354.

 Negative Credit Information Notice
 We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report. You have
 the right to dispute the accuracy of the information reported by writing to us at the address listed above.


 BSI Financial Services is a debt collector, and any information you provide to us may be used to collect a debt.
 Licensed as Servis One, Inc. dba BSI Financial Services. This notice is being sent on behalf of BSI Financial Services by its servicing agent, BSI Financial Services.
 BSI Financial Services NMLS# 38078.




                                                           CHANGE OF NAME / ADDRESS NOTIFICATION


If applicable, please complete the change of address and personal information below (if name change, please supply supporting documentation):


NAME _________________________________________________________________________________________________



STREET ADDRESS ______________________________________________________________________________________



CITY/STATE __________________________________________________ ZIP CODE ________________________________



SIGNATURE __________________________________________________ DATE ____________________________________
Case 16-41005-elm13 Doc Filed 04/14/20              Entered 04/14/20 17:14:13           Page 5 of 5




                                     CERTIFICATE OF SERVICE
             On April 14, 2020, I served the foregoing documents described as Notice of Postpetition
     Fees, Expenses and Charges on the following individuals by electronic means through the Court’s
     ECF program:
             COUNSEL FOR DEBTORS
             Christopher Marvin Lee ecf@leebankruptcy.com

             TRUSTEE
             Pam Bassel    fwch13cmecf@fwch13.com

             US TRUSTEE
             US Trustee ustpregion06.da.ecf@usdoj.gov

             I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
                                                              /s/ Brandy Carroll
                                                              Brandy Carroll

             On April 14, 2020, I served the foregoing documents described as Notice of Postpetition
     Fees, Expenses and Charges on the following individuals by depositing true copies thereof in the
     United States mail at Santa Ana, California enclosed in a sealed envelope, with postage paid,
     addressed as follows:


      Debtors
      James Lee Bradberry
      6408 Marlette Ct
      North Richland Hills, TX 76180

      Tiffany Hare Bradberry
      6408 Marlette Ct
      North Richland Hills, TX 76180

             I declare under penalty of perjury under the laws of the United States of America that the
     foregoing is true and correct.
                                                              /s/ Brandy Carroll
                                                              Brandy Carroll
